Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 1 of 19 Pageid#: 127




                       EXHIBIT E
   Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 2 of 19 Pageid#: 128
                                                                   Steven W. Ray           Micah E. Ticatch
                                                                    Admitted VA DC MD CA    Admitted VA DC CA MD
                                                                   Edward Lee Isler        Alison D. Kewer
                                                                    Admitted VA DC          Admitted VA GA
1945 Old Gallows Road
                                                                   Michelle B. Radcliffe   Amy E. Smith
Suite 650                                                           Admitted VA DC MD       Admitted VA DC GA FL
Tysons Corner
                                                                   Andrea I. O’Brien       Ashley F. Hedge
Vienna, Virginia 22182                                              Admitted VA DC MD       Admitted VA DC MD
703.748.2690                                                       Steven D. Brown         Lindsey A. Strachan
703.748.2695 (fax)                                                  Admitted VA CT FL NC    Admitted VA

1111 East Main Street                                              Lori H. Turner          Ramana R. Briggs
                                                                    Admitted VA DC MD       Admitted VA DC
Suite 1605
Richmond, Virginia 23219                                           Vi D. Nguyen            Whitney E. Nelson
                                                                    Admitted VA DC CA       Admitted VA
804.489.5500                                                                                ______________
804.234.8234 (fax)                                                 Jeanne E. Floyd
                                                                    Admitted VA            R. Mark Dare (Ret.)
www.islerdare.com                                                                          Wayne A. Schrader (Ret.)
                                                                                           W. Michael Holm (Ret.)




                                            December 6, 2021

    Via Email (james@gmlaborlaw.com)
    James E. Goodley, Esquire
    Ryan P. McCarthy, Esquire
    Goodley McCarthy LLC
    1650 Market Street, Suite 3600
    Philadelphia, PA 19103
    ryan@gmlaborlaw.com


             Re:     Joyce Larson v. True Select LLC et al.  Civil Action No. 5:21-cv-00077

    Dear Counsel,

            I appreciated the opportunity to speak with you recently about the above-referenced matter.
    The purpose of this letter is to provide you with an overview of our clients’ position, which I
    believe will lead you to the conclusion that there is no support for Ms. Larson’s individual claims
    and the class and collective action alleged in the complaint against True Select LLC d/b/a
    FirstLight Homecare (“True Select”) and GuardianLight of Northwestern VA Inc. d/b/a FirstLight
    Homecare (“GuardianLight”) (collectively, “Companies”).

             As you know, Ms. Larson’s complaint alleges violations of the Fair Labor Standards Act
    (“FLSA”) and the Virginia Overtime Wage Act (“VOWA”), including multiple acts of retaliation.
    This collective action sought by Ms. Larson is improper because: (1) Ms. Larson has failed to offer
    sufficient factual evidence to support that she is a proper representative of the class; (2)
    Ms. Larson’s claim for retaliation will require significant and individual factual and legal analysis
    that is separate and distinct from the wage and hour claims; and (3) the Companies have already
    paid all alleged overtime payments to Ms. Larson and thus, she has no viable claim for damages.
    Further, as shown below, contrary to the allegations in the complaint, the Companies do not have
    a practice of failing to pay employees overtime compensation.
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 3 of 19 Pageid#: 129

Mr. James Goodley, Esquire
December 6, 2021
Page 2


   A. Background Facts

        GuardianLight and True Select are two related, but separate entities. Notably,
GuardianLight operates out of Winchester, Virginia and the office is managed by Wendy Stanton
(“Ms. Stanton”), Office Manager. Ms. Stanton manages and directs the staff in Winchester, and
she managed Ms. Larson during the period she was employed as an Office Assistant. True Select,
on the other hand, operates out of Charlottesville, Fairfax, and Vienna, Virginia and each location
is similarly managed by its local Office Manager. Kendra Ghanbari (“Ms. Ghanbari”) owns True
Select and is a majority owner of GuardianLight, although she does not directly manage any Home
Care Workers at any of the locations.

         Ms. Larson was employed by GuardianLight in the role of Office Assistant from March 1,
2021 until September 2021. As an Office Assistant, she was scheduled to work 9:00am to 5:00pm,
Monday through Friday and performed duties primarily administrative in nature. For example,
her duties included answering phones; hiring new caregivers; maintaining employees’ files
(including licensing information); performing background checks and providing employees
employment paperwork. Notably, although she had a set schedule, Ms. Larson did not work
consistent hours. For instance, she was often witnessed leaving her position early, around 3:00pm
or 4:00pm. Ms. Larson was also often witnessed leaving the office in the middle of the working
day to conduct personal errands without clocking out, and on at least one occasion, Ms. Larson
left the office in the middle of the day to go to the movies. See Exhibit A (Text messages between
W. Stanton and J. Larson dated June 17, 2021). Despite this, Ms. Larson was paid an hourly rate
of $16.00 for her services (or the equivalent salary basis for a few pay periods) for the full 40-hour
work week, via direct deposit.

        In addition, Ms. Larson was employed by True Select as a Home Care Worker on the
weekends from March 2021 through November 1, 2021. As a Home Care Worker, Ms. Larson
primarily provided companion services to one of True Select’s clients, Louise Fox (“Ms. Fox”),
on a set weekend schedule. In Ms. Larson’s role she was either paid a fixed rate of $180.00, when
she worked as a live-in companion, or she was paid an hourly rate of $13.00, via paycheck.
Notably, at the time of her hire, Ms. Larson misrepresented to True Select that she had a CNA
license, when in fact, True Select later discovered that her license had expired several years prior.
Ms. Larson confirmed this information when her supervisor asked her about her license, by text
message, after she resigned from her Office Assistant position. This was particularly troubling to
True Select considering that the first case Ms. Larson was placed in was a hospice case and it was
communicated to Ms. Larson that a CNA license skill set would be needed. Additionally, True
Select and GuardianLight pay their unlicensed Home Care Workers an hourly rate of $11.00, rather
than $13.00 an hour, and requires such employees to take a Personal Care Aid Test. Had
Ms. Larson been forthcoming with this information, she would have been paid at the lower rate
and would have been required to take a Personal Care Aid Test. Considering that Ms. Larson was
in charge of maintaining employee files in her position as Office Assistant, including licensing
information, she was well aware of these requirements.
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 4 of 19 Pageid#: 130

Mr. James Goodley, Esquire
December 6, 2021
Page 3


    B. Class Membership

            i. Ms. Larson is not a proper representative of the Home Care Worker Class.

        As you know, in order to bring a collective action under the Fair Labor Standards Act
(“FLSA”), it is required that plaintiffs be similarly situated and that they affirmatively opt in to the
class by giving written consent filed with the court. See, e.g., Simmons v. United Mortg. & Loan
Inv., LLC, 634 F.3d 754, 758 (4th Cir. 2011). Given that this case revolves around the Companies’
alleged failure to pay overtime compensation to its Home Care Workers (including Caregivers,
Home Health Aides, Certified Nursing Assistants, Care Coordinators, Companion Care and
Personal Case Assistants), it is imperative that some evidence is shown that potential opt-in
members would actually be similarly situated to Ms. Larson.

        District courts in the Fourth Circuit have held that determining whether employees are
“similarly situated” is a very fact-specific inquiry, but often requires plaintiffs to raise similar legal
issues as to the purported violation and have similar factual settings with respect to their jobs. See
Stacy v. Jennmar Corp. of Virginia, Inc., W.D. Va. No. 1:21CV00015, 2021 WL 4787278, at *2
(W.D. Va. Oct. 14, 2021) (citing Romero v. Mountaire Farms, Inc., 796 F. Supp. 2d 700, 705
(E.D.N.C. 2011)). Courts have also considered whether individuals are from a “manageably
similar factual setting,” and if their inclusion in the class would render litigation “bogged down by
individual differences among class members.” See Stone v. SRA Int'l, Inc., E.D. Va. No.
2:14CV209, 2014 WL 5410628, at *8 (E.D. Va. Oct. 22, 2014) (quoting Houston v. URS Corp.,
591 F. Supp. 2d 827, 832 (E.D. Va. 2008). Courts can consider geography, similarity of job duties,
and supplied evidence of similarities when considering whether to limit a class. See id. at 8-9. In
cases where conditional class certification has been granted, plaintiffs alleged similar job
descriptions, duties, and nature of work, in order to prove they are similarly situated to other
potential class members. See Stone v. SRA Int'l, Inc., E.D. Va. No. 2:14CV209, 2014 WL 5410628;
Houston v. URS Corp., 591 F. Supp. 2d 827.

       In this case, there are numerous dissimilarities between the factual setting surrounding
Ms. Larson’s employment with GuardianLight and True Select and other potential members of the
Home Care Workers class (“Class”). First, Ms. Larson is one of only a few individuals who
performed work for both GuardianLight and True Select. Moreover, Ms. Larson, as an Office
Assistant for GuardianLight, performed duties which were administrative in nature, unlike other
potential members of the Class. Additionally, most Home Care Workers worked varying shifts or
performed services for various clients. Aside from one other occasion, Ms. Larson only provided
services for one client, Ms. Fox, and declined to provide services to various other clients. She also
worked on a set schedule to work almost exclusively on weekends, unlike other members of the
Class who worked on an as needed basis. Further, despite that Ms. Larson misrepresented that she
was licensed, she also does not have an active CNA license, or a PCA certificate like most other
members of the Class.

       Further, True Select operates out of three locations, and thus, many potential members of
the Class do not work in the same locations. Moreover, the Class of Home Care Workers differ
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 5 of 19 Pageid#: 131

Mr. James Goodley, Esquire
December 6, 2021
Page 4

significantly in terms of the type of work performed, skill set/training, licensing required, how they
are compensated, and when they perform work. For example, live-in Home Care Workers (of
which there are only a few) generally work a five-day schedule and are compensated using a daily
flat rate. Hourly Home Care Workers on the other hand, work varying schedules on an as needed
basis, for varying clients, at different locations. Conversely, office managers and office assistants
are paid on a salary basis and are engaged in higher level work, such as handling patient case
management and recruiting and training staff. Considering the foregoing, Ms. Larson is simply
not a proper class representative because her claims are not typical of the Class as a whole.

   ii. Mr. Larson has pleaded claims particular to her.

        The presence of Ms. Larson’s claim for Retaliation (Count III) further renders the potential
plaintiffs not similarly situated because the issues litigated would not be central to all plaintiffs
and necessitates specific and unique factual and legal analysis. In particular, this claim will require
factual analysis of the termination of her employment, her job performance, and any complaints
she made during her employment concerning her wages, as well as related issues. See, e.g.,
Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 79 (2006) (recognizing that causes of
action for retaliation “depend upon the particular circumstances” of the claim). This claim will
also require an analysis of how Ms. Larson was treated by the Companies as compared to other
employees to determine whether any adverse actions constitute unlawful retaliation. Id.
Accordingly, this claim will predominate the factual issues at any trial of this matter. To the extent
Ms. Larson is also seeking to bring this claim on behalf of other members of the Class, an analysis
of the retaliation claims of such other plaintiffs would also require the same specific and unique
factual and legal analysis. Lastly, there is no basis for her retaliation claim based on the facts
discussed below.

   iii. The Companies have already paid all alleged overtime to Ms. Larson and thus, she has
        no viable claim for damages.

        As detailed below, contrary to the allegations in the complaint, Ms. Larson received all
alleged overtime compensation she is entitled to, despite the fact that she refused two checks
offered to her. Within her role as a Home Care Worker for True Select, Ms. Larson brought a
concern to her supervisor, Ms. Stanton, on October 8, 2021, stating that she believed that she was
paid the wrong rate for some of the hours she worked. On the same day, her supervisor informed
payroll that there was a perceived pay rate discrepancy and asked for them to review her records.
After the payroll department reviewed the matter, Ms. Larson was notified on October 27, 2021,
that the payroll department would be issuing her checks for the difference between what she was
paid and any overtime she was entitled to. On October 29, 2021, Ms. Stanton and Ms. Ghanbari
scheduled a meeting with Ms. Larson to provide her these checks and to attempt to further
understand Ms. Larson’s concerns regarding her pay, to the extent she had any further concerns.
Ms. Larson refused to attend the meeting on October 29, 2021, stating that she had “pre-arranged
doctors’ appointments.” As a result, the meeting was scheduled on the following Monday,
November 1, 2021, at the Winchester office. During this meeting, Ms. Larson refused to discuss
any grievances or concerns regarding her pay and refused to take the checks which were offered
to her at the beginning of the meeting. See Exhibits B & C (Paycheck for 09/20/2021 - 10/3/2021
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 6 of 19 Pageid#: 132

Mr. James Goodley, Esquire
December 6, 2021
Page 5

period totaling $108.05 & Paycheck for 10/4/2021 - 10/17/2021 totaling $48.02). She then
requested another copy of the employee handbook, which was given to her in a folder with the
checks, after which Ms. Larson stormed out of the office. Subsequent to this, Ms. Larson returned
to the office building and slid the checks under the front door of the office.
        After this incident, True Select once again reviewed Ms. Larson’s payroll records to see if
there were any discrepancies. As True Select and GuardianLight had compensated her for all
overtime she was owed for each entity (or at least tried to, considering Ms. Larson refused two
checks), our clients came to the conclusion that Ms. Larson likely believed that she was entitled to
overtime for all hours worked across both entities. While our clients maintain that Ms. Larson was
properly compensated, our clients decided to pay Ms. Larson any alleged overtime owned across
both entities to address any remaining concerns Ms. Larson may have had. Accordingly, in an
effort to assist you in demonstrating to your client that she properly compensated for her hours
worked, I have included, as Exhibit D, a spreadsheet of her payroll records. We are also providing
you with a copy of all of her time records for her home care position and paystubs for both entities
to allow you to confirm the number of overtime hours to which she alleges she is entitled to back
pay for. These documents are being provided by email using our secure file-sharing portal
ShareFile (you will receive an email directly from ShareFile with a link that will allow you to view
the documents).
        For ease of calculation, our clients treated all of the time Ms. Larson performed home care
for TrueSelect as eligible for overtime for a total of 681.46 hours and paid her half time rate on
those hours (i.e., $6.50) for a total of $4,429.56, less her withholdings, for a total of $3,058.70. As
you will see when you review these paystubs, the words “Retro Back Pay” appear under the
“Earnings and Hours” box of Ms. Larson’s final paystub from GuardianLight. As you can see on
this November 8, 2021 paystub, which was direct deposited into Ms. Larson’s account, that is
precisely the amount that she was paid in Retro Back Pay. See Exhibit E.
        As you can see from the enclosed spreadsheet, based on Ms. Larson’s assertion that the
hours work for both entities must be combined, she was entitled to overtime for 497.76 hours.
Thus, our client overestimated the number of hours Ms. Larson worked as part of their calculations,
by 182 hours.
         With regard to the amount of overtime due, as seen in the spreadsheet, the calculation
method set out in the spreadsheet follows applicable FLSA regulations which as you know, require
employers to pay employees at one and one-half times their regular rate for all hours worked over
forty in a workweek. 29 U.S.C. § 207(a)(1). The FLSA regulations describe the “regular rate”
“as the hourly rate actually paid the employee for the normal, non-overtime workweek for which
he is employed—an ‘actual fact.’” 29 C.F.R. § 778.108 (internal citations omitted). Because
Ms. Larson performed work at two different rates during the applicable workweeks, the blended
rate is used to determine the regular rate in accordance with Department of Labor regulations 29
C.F.R. § 778.11. She is then entitled to half time that regular rate times the number of overtime
hours worked for any workweek. We have thus calculated the half-time rate for each workweek in
which Ms. Larson worked overtime for a total of $3,625.57. See, e.g., Zamora v. Enter. Rac of
Maryland, LLC, E.D. Va. No. 120CV00478LMBMSN, 2020 WL 7488200, at *1 (E.D. Va. Dec.
7, 2020), aff'd, 4th Cir. No. 20-2278, 2021 WL 4473395 (4th Cir. Sept. 30, 2021) (upholding the
employer’s calculation of the amount of overtime due on plaintiff’s bonus compensation in
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 7 of 19 Pageid#: 133

Mr. James Goodley, Esquire
December 6, 2021
Page 6

accordance with the FLSA overtime regulations). This amount also offsets the two paychecks
Ms. Larson refused on November 1, 2021, for the overtime hours she worked during the first
workweek in October. Thus, Ms. Larson has already been overpaid any and all alleged overtime
pay owed. Accordingly, to the extent Ms. Larson claims she is entitled to overtime for all hours
worked across the two entities, she has already been made whole and has no viable claim for
overtime under the FLSA.
        In light of the foregoing, Ms. Larson’s FLSA claim is not well grounded in fact and Ms.
Larson is not a proper representative of the Home Care Worker Class. As such, we will not agree
to stipulate to the conditional certification or to a tolling agreement. If you move forward with
seeking certification, we will oppose the motion on the grounds set forth above. Moreover, we
expect Ms. Larson to dismiss her claims for unpaid overtime before our answer is due to be filed
on January 5, 2022. Should she fail to do so, and we are compelled to spend further legal fees on
defending against her overtime claim, we will not hesitate to pursue all legal remedies available.

        If you would like to discuss the foregoing and a possible resolution of this matter, please
contact me by no later than Wednesday, December 15, 2021. I look forward to hearing from you.


                                            Very truly yours,



                                             Steven W. Ray
                                             Counsel for Defendants


Enclosures a/s
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 8 of 19 Pageid#: 134




                       EXHIBIT A
     Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 9 of 19 Pageid#: 135

,1   Verizon~                     11:02 AM                           58%(1L}


     <e
                                  Joyce >
                    - - ... ,   --·.   ·-,   -   '   -   t   ... ,




     Clock me out please.
     Thank you

                   Wed, Jun 16, 7:32 AM


     Goodmorning - - - ,
     I received an email from
     the potential client in
     Middleburg they're going
     to delay our meeting. So
     noreasontorushtothe
     office this morning .




                   Thu, Jun 17, 12:39 PM
                                                                     •
     Hey I'm heading into the
           0)
     Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 10 of 19 Pageid#: 136

,1   Verizon~               11:02 AM                    57%(i[J   1




                               ~~
                            Joyce >

                   Thu, Jun 17, 12:39 PM


     Hey I'm heading into the
     theater now

                    Sat, Jun 19, 8:49 AM




 rIt
            8)          iMessage

                     GD
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 11 of 19 Pageid#: 137




                       EXHIBIT B
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 12 of 19 Pageid#: 138
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 13 of 19 Pageid#: 139




                       EXHIBIT C
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 14 of 19 Pageid#: 140
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 15 of 19 Pageid#: 141




                       EXHIBIT D
                                          Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 16 of 19 Pageid#: 142


                                                                                         True Select, LLC and Guardian Light LLC.
                                                                                                      LARSON, JOYCE
                                                                                            Payroll & Backpay Overtime Due
                                                                                                2/22/2021 - 10/23/2021


      Payroll Time Period                                Time Worked                                                                               Amounts Actually Paid                              Overtime Due


                                             (C) Total
                               (B)     Total            (D) Total   (E) Overtime (F)        Regular                 (H) Hourly
                                                Hours                                                (G) Hourly                     (I) Amount      (J) Amount Paid (K) Holiday                  (M) Blended (N) Overtime
(A)                  Weekly       Hours                    Hours    Hours Worked Hours Worked                        Rate for                                                   (L) Total Amount
                                             Worked for                                               Rate for                      Paid by True       by Guardian  and Bonus                    Regular Rate   Earned
        Payroll Period          Worked for                Worked    (D)-40 (but not (D)-(E) (but not                 Guardian                                                          Paid
                                              Guardian                                               True Select                       Select             Light         Paid                        (L/D)      (Mx.5xE)
                                True Select                (B+C)      less than 0)    less than 0)                     Light
                                                Light
      3/1/2021      3/7/2021          0.00       38.50      38.50              0.00           40.00           n/a        Salary               n/a            $616.00                   $308.00     $8.00        $0.00

   3/8/2021        3/14/2021         48.00       32.00      80.00            40.00            40.00     Flat $180       $16.00           $180.00             $512.00                   $692.00    $8.65        $173.00
  3/15/2021        3/21/2021          6.00       32.00      38.00             0.00            40.00     Flat $180       $16.00           $180.00             $512.00                   $692.00    $18.21        $0.00

  3/22/2021        3/29/2021          0.00       46.00      46.00              6.00           40.00           n/a       $16.00                n/a            $730.00                   $730.00    $15.87        $47.61
  3/30/2021         4/4/2021          0.00       46.00      46.00              6.00           40.00           n/a       $16.00                n/a            $730.00                   $730.00    $15.87        $47.61

   4/5/2021        4/11/2021          0.00       40.00      40.00             0.00            40.00       $13.00         Salary            $0.00             $615.50                   $615.50    $15.39        $0.00
  4/12/2021        4/18/2021         12.00       40.00      52.00            12.00            40.00       $13.00         Salary          $156.00             $615.50                   $771.50    $14.84        $89.02
                                                                                                                                           $0.00
  4/19/2021        4/25/2021         33.50       40.00      73.50            33.50            40.00       $13.00        $16.00           $435.50             $640.00       $50.00     $1,125.50   $15.31       $256.49
  4/26/2021         5/2/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00                   $952.00    $14.88       $178.50
                                                                                                                                           $0.00
   5/3/2021         5/9/2021         26.83       40.00      66.83            26.83            40.00       $13.00         Salary          $348.79             $640.00                   $988.79    $14.80       $198.48
  5/10/2021        5/16/2021         24.00       40.00      64.00            24.00            40.00       $13.00         Salary          $312.00             $640.00                   $952.00    $14.88       $178.50
                                                                                                                                           $0.00
  5/17/2021        5/23/2021         36.00       40.00      76.00            36.00            40.00       $13.00        $16.00           $468.00             $640.00       $78.00     $1,186.00   $15.61       $280.89
  5/24/2021        5/30/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00       $78.00     $1,030.00   $16.09       $193.13
                                                                                                                                           $0.00
  5/31/2021         6/6/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00                   $952.00    $14.88       $178.50
   6/7/2021        6/13/2021          6.88       40.00      46.88             6.88            40.00       $13.00        $16.00            $89.44             $640.00                   $729.44    $15.56       $53.53
                                                                                                                                           $0.00
  6/14/2021        6/20/2021          0.00       40.00      40.00             0.00            40.00       $13.00        $16.00             $0.00             $640.00                   $640.00    $16.00        $0.00
  6/21/2021        6/27/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00                   $952.00    $14.88       $178.50
                                                                                                                                           $0.00
  6/28/2021         7/4/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00                   $952.00    $14.88       $178.50
   7/5/2021        7/11/2021          0.00       40.00      40.00             0.00            40.00       $13.00        $16.00             $0.00             $640.00                   $640.00    $16.00        $0.00
                                                                                                                                           $0.00
  7/12/2021        7/18/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00       $39.00      $991.00    $15.48       $185.81
  7/19/2021        7/25/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00       $39.00      $991.00    $15.48       $185.81
                                                                                                                                           $0.00
  7/26/2021         8/1/2021         12.00       40.00      52.00            12.00            40.00       $13.00        $16.00           $156.00             $640.00                   $796.00    $15.31       $91.85
   8/2/2021         8/8/2021         16.00       40.00      56.00            16.00            40.00       $13.00        $16.00           $208.00             $640.00                   $848.00    $15.14       $121.14
                                                                              0.00                                                         $0.00
   8/9/2021        8/15/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00                   $952.00    $14.88       $178.50
  8/16/2021        8/22/2021          0.00       40.00      40.00             0.00            40.00       $13.00        $16.00             $0.00             $640.00                   $640.00    $16.00        $0.00
                                                                              0.00                                                         $0.00
  8/23/2021        8/29/2021         16.75       40.00      56.75            16.75            40.00       $13.00        $16.00           $217.75             $640.00                   $857.75    $15.11       $126.58
  8/30/2021         9/5/2021         24.00       40.00      64.00            24.00            40.00       $13.00        $16.00           $312.00             $640.00                   $952.00    $14.88       $178.50
                                         Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 17 of 19 Pageid#: 143


                                           (C) Total
                             (B)     Total            (D) Total   (E) Overtime (F)        Regular                (H) Hourly
                                              Hours                                                (G) Hourly                 (I) Amount     (J) Amount Paid (K) Holiday                  (M) Blended (N) Overtime
(A)                 Weekly      Hours                    Hours    Hours Worked Hours Worked                       Rate for                                               (L) Total Amount
                                           Worked for                                               Rate for                  Paid by True      by Guardian  and Bonus                    Regular Rate   Earned
       Payroll Period         Worked for                Worked    (D)-40 (but not (D)-(E) (but not                Guardian                                                      Paid
                                            Guardian                                               True Select                   Select            Light         Paid                        (L/D)      (Mx.5xE)
                              True Select                (B+C)      less than 0)    less than 0)                    Light
                                              Light
                                                                            0.00                                                     $0.00
   9/6/2021      9/12/2021           36.50      28.65     65.15            25.15            40.00       $13.00       $16.00        $474.50          $460.00                     $934.50    $14.34       $180.37
  9/13/2021      9/19/2021           24.00      28.65     52.65            12.65            40.00       $13.00       $16.00        $312.00          $460.00                     $772.00    $14.66       $92.74
                                                                            0.00                                                     $0.00
  9/20/2021      9/26/2021           34.00       0.00     34.00             0.00            25.00       $13.00          n/a        $442.00             $0.00                    $442.00    $13.00        $0.00
  9/27/2021      10/3/2021           37.00       0.00     37.00             0.00            25.00       $13.00          n/a        $481.00             $0.00                    $481.00    $13.00        $0.00
                                                                                                                                     $0.00
 10/4/2021      10/10/2021           48.00       0.00     48.00              8.00           36.00       $13.00          n/a        $624.00             $0.00                    $624.00    $13.00        $52.00
10/11/2021      10/17/2021           24.00       0.00     24.00              0.00           36.00       $13.00          n/a        $312.00             $0.00                    $312.00    $13.00        $0.00
                                                                                                                                     $0.00
10/18/2021      10/24/2021           24.00       0.00     24.00              0.00           12.00       $13.00          n/a        $312.00             $0.00                    $312.00    $13.00        $0.00
      Totals:                      681.46    1131.80 1813.26            497.76         1294.00                                $8,408.58       $18,051.00 $284.00          $26,543.98                   $3,625.57
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 18 of 19 Pageid#: 144




                       EXHIBIT E
Case 5:21-cv-00077-TTC Document 16-5 Filed 01/18/22 Page 19 of 19 Pageid#: 145
